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Exhibit A

RLF! 10363554v.1
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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

Tn re: Chapter 11

ENERGY FUTURE HOLDINGS CORP., et al.,’ Case No. 14-10979 (CSS)

Debtors. (Jointly Administered)

Re: Docket Nos. 27, 314,342 & _

Nem Ne ee ee”

FINAL ORDER AUTHORIZING THE DEBTORS TO
(A) GRANT ADMINISTRATIVE EXPENSE PRIORITY TO ALL
UNDISPUTED OBLIGATIONS FOR GOODS AND SERVICES ORDERED
PREPETITION AND DELIVERED POSTPETITION AND SATISFY SUCH
OBLIGATIONS IN THE ORDINARY COURSE OF BUSINESS AND (B) PAY
PREPETITION CLAIMS OF SHIPPERS, WAREHOUSEMEN, AND MATERIALMEN

Upon the motion (the “Motion”)’ of the above-captioned debtors and debtors in
possession (collectively, the “Debtors’”), for entry of a final order (this “Order’’), authorizing, but

not directing, Debtors to (a) grant administrative expense priority to all Outstanding Orders and

satisfy such obligations in the ordinary course of business; (b) pay Claimants in the ordinary
course of business, all as more fully set forth in the Motion; and upon the First Day Declaration;

and the Court having found that it has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

and 1334; and the Court having found that this is a core proceeding pursuant to 28 U.S.C.

§ 157(b)(2); and the Court having found that venue of this proceeding and the Motion in this

district is proper pursuant to 28 U.S.C, §§ 1408 and 1409; and the Court having found that the

relief requested in the Motion, as modified herein, is in the best interests of the Debtors’ estates,

The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The location of the

debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201, Due to the large number of debtors in these

chapter || cases, for which joint administration has been granted on an interim basis, a complete list of the
debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list 2
of such information may be obtained om the website of the debtors’ claims and noticing agent at
http://www.efhcaseinfo.com.

Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.
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their creditors, and other parties in interest; and the Court having found that the Debtors provided
appropriate notice of the Motion and the opportunity for a hearing on the Motion under the
circumstances; and the Court having reviewed the Motion and having heard the statements in
support of the relief requested therein at a hearing, if any, before the Court (the “Hearing’’); and
the Court having determined that the legal and factual bases set forth in the Motion and at the
Hearing establish just cause for the relief granted herein; and upon all of the proceedings had

before the Court; and after due deliberation and sufficient cause appearing therefor, it is

HEREBY ORDERED THAT:
1. The Motion is granted as set forth herein.
2. All undisputed obligations relating to the Outstanding Orders are granted

administrative expense priority status in accordance with section 503(b) of the Bankruptcy Code.

3. In accordance with this Order, the Debtors are authorized, but not directed, to
honor, pay, or otherwise satisfy prepetition amounts on account of Outstanding Orders in the
ordinary course of business and consistent with the parties’ customary practices in effect before
the Petition Date.

4, In accordance with this Order, the Debtors are authorized, but not directed, to
honor, pay, or otherwise satisfy prepetition amounts owed to Claimants; provided, however, that
such payments shall not exceed $39.5 million unless otherwise ordered by the Court.

5. The Debtors are authorized, but not directed, to condition payment of the
Claimants upon a Claimant’s agreement to continue supplying goods and services to the Debtors
postpetition on Customary Trade Terms; provided, however, that the Debtors reserve the right to
adjust normal trade terms with any such Claimant according to the facts and circumstances,

provided further, however, that the Debtors shall consult with counsel to the Ad Hoc Committee

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of TCEH First Lien Creditors and proposed counsel to the official committee of unsecured

creditors appointed in these chapter 11 cases (the “Creditors” Committee”) before adjusting trade

terms with such Claimant if such Claimant is receiving a payment in excess of $5 million under
this Order; provided, further, however, that in all circumstances, the Claimant shall provide for
trade terms that are no less favorable than the most favorable trade terms provided by the
Claimant to the Debtors in the three months prior to the Petition Date.

6, In accordance with this Order and any other order of this Court, each of the
financial institutions at which the Debtors maintain their accounts relating to the payment of the
obligations described in this Order is authorized to honor checks and electronic payment requests
presented for payment of obligations described in this Order and all fund transfer requests made
by the Debtors related thereto to the extent that sufficient funds are on deposit in such amounts.

7. H, after receiving a payment pursuant to this Order, a Claimant does not continue
to provide Customary Trade Terms, then (a) any such payment received by such Claimant shall
be deemed, in the Debtors’ discretion in consultation with counsel to the Ad Hoc Committee of
TCEH First Lien Creditors and proposed counsel to the Creditors’ Committee, an improper
postpetition transfer and, therefore, recoverable by the Debtors in cash immediately upon written
request by the Debtors, and (b) upon recovery by the Debtors, any prepetition claim of such
Claimant shall be reinstated as if the payment had not been made; provided, however, that (x)
prior to exercising any remedies set forth in paragraph 7, the Debtors shall provide the
applicable party with written notice of their intent to exercise such remedies, and the applicable
party shail have fourteen (14) days from service of such written notice to file an objection and

serve it on the Debtors and (y) if such party files and serves such written notice, the Debtors shall

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not exercise any remedies set forth in paragraph 7 pending further order of the Court or
agreement of the parties,

8. This Order does not grant any relief with respect to or affect the rights, duties, or
obligations of EFTH and EFTH Finance, Inc.

9. Notwithstanding the relief granted in this Order and any actions taken pursuant to
such relief, nothing in this Order shall be deemed: (a) an admission as to the validity of any
claim against a Debtor entity; (b) a waiver of any party in interest’s rights to dispute any claim
on any grounds; (c) a promise or requirement to pay any claim; (d) an implication or admission
that any particular claim is of a type specified or defined in this Order or the Motion; (e) a
request or authorization to assume any agreement, contract, or lease pursuant to section 365 of
the Bankruptcy Code; (f) a waiver or limitation of the Debtors’ estates under the Bankruptcy
Code or any other applicable law; or (g) a concession by the Debtors’ estates that any liens
(contractual, common law, statutory, or otherwise) satisfied pursuant to this Order are valid, and
the Debtors’ estates expressly reserved their rights to contest the extent, validity, or perfection or
seek avoidance of all such liens. Payments made pursuant to this Order shall not be construed as
an admission as to the validity of any claim or a waiver of any party in interest’s rights to
subsequently dispute such claim.

10. Notice of the Motion as provided therein shall be deemed good and sufficient and
the requirements of the Local Bankruptcy Rules are satisfied by such notice.

El, Notwithstanding the possible applicability of Bankruptcy Rules 6004(h), 7062,
9014 or otherwise, the terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

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12. _—_ Ali time periods set forth in this Order shall be calculated in accordance with
Bankruptcy Rule 9006(a).

13, The Debtors are authorized to take all actions necessary to effectuate the relief
granted pursuant to this Order in accordance with the Motion.

14. The Court retains exclusive jurisdiction with respect to all matters arising from or
related to the implementation of this Order.

Wilmington, Delaware
Dated: June ___, 2014

THE HONORABLE CHRISTOPHER 8S. SONTCHI
UNITED STATES BANKRUPTCY JUDGE
